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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 COLORADO OFF ROAD ENTERPRISE; Case No. 1:23-cv-415-AP
 MARCUS TRUSTY, in his capacity as
 president of CORE as well as his
 individual capacity; PATRICK MCKAY, in
 his capacity as a Board Member of CORE RESPONSE TO PETITIONERS’
 as well as his individual capacity,    “COMPLAINT FOR DECLARATORY
                                        AND INJUNCTIVE RELIEF AND
    Petitioners,                        PETITION FOR REVIEW OF AGENCY
                                        ACTION”
 v.

 USDA FOREST SERVICE, an agency of
 the U.S. Department of Agriculture; and
 DIANA M. TRUJILLO, in her official
 capacity as the Forest and Grasslands
 Supervisor for the Pike and San Isabel
 National Forests, Cimarron and
 Comanche National Grasslands,

    Respondents.


       Respondents hereby respond to Petitioners’ February 13, 2013, “Complaint for

Declaratory and Injunctive Relief and Petition for Review of Agency Action,” ECF No. 1

(hereinafter “Petition”) as follows:

       1.     The Petition alleges that the U.S. Forest Service and Diana M. Trujillo, in

her official capacity as the Forest and Grasslands Supervisor for the Pike and San Isabel

National Forests, Cimarron and Comanche National Grasslands, violated various statutes

and regulations in approving the Pike San Isabel National Forest Motorized Travel

Management (MVUM) Analysis Project (Project).         ECF No. 1 ¶¶ 2-3.      Specifically,

Petitioners allege that Federal Defendants’ approval of the Project violated the Forest

Service’s Travel Management Regulations, 36 C.F.R. pt. 212, the National Environmental
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Policy Act (NEPA) and its implementing regulations, 42 U.S.C. §§ 4321-4380m, the

National Forest Management Act (NFMA), 16 U.S.C. §§ 1600-1614, the Multiple-Use

Sustained Yield Act (MUSYA), 16 U.S.C. §§ 528-531, Executive Order 11989 and the

Administrative Procedure Act, 5 U.S.C. § 706. ECF No. 1 ¶¶ 687-849.

          2.       The Tenth Circuit has held that challenges to agency action asserting such

claims are to be reviewed in accordance with the judicial review provisions of the APA, 5

U.S.C. §§ 701-706. See, e.g., Citizens’ Comm. to Save Our Canyons v. Krueger, 513

F.3d 1169, 1176 (10th Cir. 2008) (the APA “governs judicial review of agency actions….”);

Utah Envtl. Congress v. Bosworth, 443 F.3d 732, 739 (10th Cir. 2006) (“Because neither

NEPA nor NFMA provide a private right of action, this court reviews the Forest Service’s

approval of [a project] as a final agency action under the APA.”).

          3.       Petitioner acknowledges that it brings its claims under the APA, 5 U.S.C.

§ 706. See ECF No. 1 ¶¶ 703, 716, 722, 727, 731, 739, 754, 777, 784, 802, 811, 816,

832, 849. The District of Colorado has adopted AP Rules that “apply to pre-merits

management and briefing in…a case commenced or reviewed under 5 U.S.C. § 706

concerning an action or final decision of an administrative agency….” D.C.Colo.LAPR

1.1(c).        The AP Rules require the petition to “include factual allegations relating to the

grounds on which the agency action is being challenged and the legal basis for

plaintiff/petitioner’s entitlement to relief.” Id. 10.2(c).

          4.       In Olenhouse v. Commodity Credit Corp., 42 F.3d 1560 (10th Cir. 1994),

the Tenth Circuit held that challenges to federal agency actions pursuant to the judicial

review provisions of the APA are not subject to the use of normal civil trial procedures:



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       A district court is not exclusively a trial court. In addition to its nisi prius
       functions, it must sometimes act as an appellate court. Reviews of agency
       action in the district courts must be processed as appeals. In such
       circumstances the district court should govern itself by referring to the
       Federal Rules of Appellate Procedure.

42 F.3d at 1580 (emphasis in original). See also Nat’l Ski Areas Ass’n, Inc. v. U.S. Forest

Serv., 910 F. Supp.2d 1269, 1279 (D. Colo. 2012); Colorado Wild v. Vilsack, 713 F.

Supp.2d 1235, 1237 (D. Colo. 2010) (“I review the administrative agency’s decision as an

appellate body. As a result, I apply the Federal Rules of Appellate Procedure and,

generally, limit my review to the evidence relied upon by the Respondents in reaching the

challenged decision.”) (citing Olenhouse, 42 F.3d at 1580).

       5.     In Olenhouse, the Tenth Circuit stated that part of “the illicit procedure [the

district court] employed to determine the issues for review” was that the district court had

“processed the [plaintiffs’] appeal as a separate and independent action, initiated by a

complaint and subjected to discovery and a ‘pretrial’ motions practice.” 42 F.3d at 1579

(emphasis added); see also Wilderness Soc’y v. Wisely, 524 F. Supp.2d 1285, 1297 (D.

Colo. 2007) (“The arbitrary and capricious analysis also requires the Court to conduct a

plenary review of the administrative record to see whether there are facts which support

the agency’s decision.” (citing Olenhouse, 42 F.3d at 1575-76)).

       6.     The law in the Tenth Circuit, as set forth explicitly in Olenhouse, is clear that

a “Complaint” is not a proper vehicle for initiating claims challenging a federal agency

action in federal district court. Therefore, Petitioners properly initiated this action with the

Petition, which is not the functional equivalent of a “Complaint.”          Consequently, no

“Answer” is required under the Federal Rules of Civil Procedure, which are generally


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inapplicable at this stage of the litigation. The Tenth Circuit has recognized that the

procedure mandated by Olenhouse is the correct procedure for claims challenging

agency actions. See, e.g., Forest Guardians v. U.S. Fish & Wildlife Serv., 611 F.3d 692,

702 n.12 (10th Cir. 2010) (“Even though this action was originally filed in the form of a

complaint, the parties later agreed to proceed as if it properly had been filed as a petition

for review of agency action.”) (citing Olenhouse, 42 F.3d at 1579-80).

       7.     Respondents deny all violations of federal law alleged in the Petition’s first

through fourteenth claims for relief alleging violation of the Travel Management Rule,

NEPA, NFMA, MUSYA, Executive Order 11989, and the APA. ECF No. 1 ¶¶ 687-849.

       8.     In accordance with Olenhouse and the District of Colorado’s AP Rules, this

matter should proceed with production of the Administrative Record and briefing on the

merits of Petitioners’ appeal from the challenged agency actions for any claims remaining

after any motions to dismiss are resolved. D.C.Colo.LAPR 16.1(a) (“In all AP cases,

except social security appeals and bankruptcy appeals, the parties will be directed to file

a Joint Case Management Plan.”).



       Respectfully submitted this 8th day of May 2023.



                                   TODD KIM
                                   Assistant Attorney General
                                   Environment & Natural Resources Division
                                   U.S. Department of Justice


                                   /s/ Shaun M. Pettigrew
                                   SHAUN M. PETTIGREW (CA Bar No. 254564)


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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 8th day of May, 2023, the foregoing was
electronically filed with the Clerk of the Court and served using the CM/ECF system
upon all attorneys of record.



                                         /s/ Shaun M. Pettigrew
                                         Shaun M. Pettigrew




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